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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

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UNITED STATES OF AMERICA                      :

       v.                                     :      Criminal No. 1:20-cr-00337-GLR

STEPHEN L. SNYDER,                            :

                Defendant.                    :

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                  MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

       Pursuant to Local Rule 101.2(a), the undersigned counsel, Marilee L. Miller, respectfully

requests that this Court grant her leave to withdraw her appearance as counsel of record for

Defendant Stephen L. Snyder (“Snyder”) in the above-captioned matter.

       In support of this Motion, Ms. Miller further states as follows:

       1.       Ms. Miller is one of three attorneys of record for Mr. Snyder along with Arnold M.

Weiner and Stuart A. Cherry.

       2.       As of April 16, 2021, Ms. Miller will no longer be affiliated with Rifkin Weiner

Livingston, LLC. Ms. Miller will be taking a position with the U.S. Department of Justice and, in

that role, will be unable to represent Mr. Snyder in any capacity.

       3.       Mr. Weiner and Mr. Cherry will remain as counsel of record for Mr. Snyder.

       4.       Mr. Snyder has been advised that Ms. Miller is resigning from the firm and will no

longer be able to represent him.
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       WHEREFORE, Ms. Miller respectfully requests that the Court grant her Motion for Leave

to Withdraw as Attorney of Record.



Dated: April 16, 2021                     Respectfully submitted,


                                          /s/ Marilee L. Miller
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                                          Counsel for Stephen L. Snyder
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that on this 16th day of April 2021, I electronically filed the

foregoing Motion for Leave to Withdraw as Counsel with the Clerk of the Court by using the

CM/ECF system and caused a copy to be served on all registered CM/ECF users as follows:

                     Leo J. Wise, Esq.
                     Matthew P. Phelps, Esq.
                     Assistant U.S. Attorneys
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                                           /s/ Marilee L. Miller
